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                   IN THE DISTRICT COURT OF THE UNITED STATES
                       FOR THE MIDDLE DISTRICT OF ALABAMA
                                NORTHERN DIVISION


UNITED STATES OF AMERICA                     )
                                             )
         v.                                  )     CR NO. 2:05cr149-LSC
                                             )
BUFFY LYNN ROBERSON                          )

                                            ORDER

       Upon consideration of the Motion for Leave to Dismiss Counts 1, 2, & 3 of the

Indictment as to Buffy Lynn Roberson, heretofore filed in the above-styled cause, and for good

cause shown, the Court is of the opinion that the motion should be and the same hereby is

granted. It is, therefore, CONSIDERED, ORDERED, ADJUDGED AND DECREED by the

Court that said motion be and the same is hereby granted.

       Done this 12th day of July 2006.




                                                  L. SCOTT COOGLER
                                             UNITED STATES DISTRICT JUDGE
                                                            124019
